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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,
Plaintiff,

v.

JOHN McCRAY, Sr.,
Defendant.                                                 No. 05-CR-30027-DRH

                                      ORDER

HERNDON, District Judge:

             Pending before the Court is McCray, Sr.’s pro se pleading filed on

October 19, 2005 titled “motion requestion [sic] dismissal of indictment.         On

October 14, 2005, the Court appointed McCray, Sr. new counsel, Mr. Hank Branom,

to represent him in this matter (Doc. 96). Because McCray, Sr. has court appointed

counsel, the Court STRIKES this pleading. See Johnson v. United States, 196

F.3d 802, 805 (7th Cir. 1999)(“A district court is entitled to insist that a

represented party file papers only through counsel.”). Thus, the Court insists that

McCray, Sr. only filed pleadings through his court appointed counsel. The Court

notes that Mr. Branom is free to re-file the motion to dismiss, and any other motions,

if he deems them proper.

             IT IS SO ORDERED.

             Signed this 24th day of October, 2005.



                                                    /s/        David RHerndon
                                                    United States District Judge
